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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                              CASE NO. 1:24-cv-20701-CMA

  JOSHUA HOLT; THAMARA B. HOLT;
  DEREK HOLT; ANTHONY B. JASON HOLT;
  KATIE JILL HOLT; JENNA LEE NEMETH,
  M.L. a minor, and N.C. a minor; and DEREK HOLT,
  in his personal capacity, and as executor for Laurie Holt,

         Plaintiffs,

  vs.

  NICOLAS MADURO MOROS; THE CARTEL
  OF THE SUNS A.K.A. CARTEL DE LOS SOLES;
  VLADIMIR PADRINO LOPEZ; MAIKEL JOSE
  MORENO PEREZ; NESTOR LUIS REVEROL
  TORRES; TAREK WILLIAM SAAB; JORGE
  JESUS RODRIGUEZ GOMEZ; DIOSDADO
  CABELLO RONDÓN; and ALEX SAAB MORAN,

        Defendants.
  _________________________________________/

          PLAINTIFFS’ STATUS REPORT ON SERVICE ON THE DEFENDANTS

         In accord with the Court’s February 23, 2024 order (ECF No. 8) and June 25, 2024 order

  (ECF No. 25), Plaintiffs respectfully submit this status report on the status of service on the

  Defendants. As discussed below, Plaintiffs recently completed service on all Defendants.

                             RELEVANT PROCEDURAL HISTORY

         This action was filed on February 22, 2024. The next day, the Court entered an Order (ECF

  No. 8) noting the Court’s concern that “[s]ervice under the Hague Convention may take anywhere

  from six to eight months, or more,” and consequently administratively closing the case. The

  February 23, 2024 order also directed Plaintiffs to submit a status report every 60 days “advising




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  of the status of service upon the foreign Defendants” until service is complete. Id. at 2. The Court

  reaffirmed this directive in its June 25, 2024 order (ECF No. 25).

         On June 27, 2024, Plaintiffs filed a status report indicating that it had served five of the

  eight individual Defendants (Nicolas Maduro Moros, Vladimir Padrino Lopez, Tarek William

  Saab, Jorge Jesus Rodriguez Gomez, and Diosdado Cabello Rondón) and that the U.S. Marshal

  had informed Plaintiffs that it had served Defendant Cartel of the Suns. ECF No. 26. The next

  status report was to be filed on or before August 26, 2024.

         Plaintiffs have now served the remaining three individual Defendants. On July 29, 2024,

  Plaintiffs served Defendants Maikel Jose Moreno Perez and Nestor Luis Reverol Torres through

  the alternative means directed in the Court’s April 26 order (ECF No. 14) permitting alternative

  service. ECF No. 29 (Declaration of Alex Lakatos). And on August 1, 2024, Plaintiffs likewise

  served Alex Saab Moran through those alternative means. ECF No. 36 (Affidavit of Alex Lakatos).

                                           CONCLUSION

         Plaintiffs have completed service on all Defendants.

   Respectfully submitted on                       /s/ Jaime D. Guttman
   August 23, 2024.                                Jaime D. Guttman
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                                                   /s/ Alex C. Lakatos
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                                                   Counsel for Plaintiffs




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                                   CERTIFICATE OF SERVICE

         I certify that on August 23, 2024, I filed this paper through CM/ECF, which automatically

  and electronically delivered notice of filing to counsel of record for all parties that have appeared.

                                                 /s/ Jaime D. Guttman
